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Munguia, Celia

From:                              Thomas Davis <tdavis@deconsel.com>
Sent:                              Monday, August 21, 2017 12:30 PM
To:                                Holland, James
Cc:                                Daniel Shanley
Subject:                           RE: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants


Good Afternoon Mr. Holland:

Thank you for your email.

I have reviewed this matter with my firm's clients and our position is as we have previously discussed: We agree that
your position (as set forth in your Motion) that the Individual Defendants are not fiduciaries within the meaning of 29
U.S.C. § 1002(21)(A), was well taken. Accordingly, the court lacks jurisdiction as to Individual Defendants, and we remain
willing to enter into a stipulation to dismiss them that expressly sets forth these terms. As this is the basis for our
entering into the stipulation, this needs to be included in the stipulation and draft order.

If you do not wish to enter into a stipulation on these terms, we will await the court's order on the Motion.

Regards,

Thomas Davis
Decarlo & Shanley
533 South Fremont Avenue, 9th Floor
Los Angeles, California 90071-1706

Phone: 213\488-4100
Fax:   213\488-4180


From: Holland, James [mailto:james.holland@stinson.com]
Sent: Friday, August 18, 2017 6:10 PM
To: Thomas Davis <tdavis@deconsel.com>
Cc: Daniel Shanley <dshanley@deconsel.com>
Subject: RE: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants

As I recall, when we last talked, I said we did not agree that the Court lacked jurisdiction-my clients are entitled to a
binding judgment dismissing them with prejudice. You were going to talk with your client regarding the content of our
stipulation, but I've heard nothing since. Please let me know what (if anything) you would like to do regarding a
stipulation.



James E. Holland, Jr. I Partner I Stinson Leonard Street LLP
1850 N. Central Avenue, Suite 2100 I Phoenix, AZ 85004-4584
T: 602.212.8598 I M: 480.603.6639 I F: 602.586.5227
james.ho!land@stinson.com I www.stinson.com
Legal Administrative Assistant: Celia Munguia I 602.212.8573 I celia.munguia@stinson.com


From: Thomas Davis [mailto:tdavis(rudeconsel.com]
Sent: Thursday,
              July 27, 2017 11:49 AM
                                                             1
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To: Holland, James
Cc: Daniel Shanley
Subject: RE: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants

Good Morning Mr. Holland:

Thank you for your email.

The Motion for Summary Judgment that you filed on behalf of the Individual Defendants was based upon the Individual
Defendants not being fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A). Plaintiffs are 'in agreement that the
Motion was well taken, and are willing to dismiss the Individual Defendants in order to avoid needlessly requiring the
Court to decide the now unopposed Motion. As Plaintiffs are dismissing the Individual Defendants and not opposing the
Motion on this ground, we maintain that this needs to be included in the Dismissal.

Regards,

Thomas Davis
Decarlo & Shanley
533 South Fremont Avenue, 9th Floor
Los Angeles, California 90071-1706

Phone: 213\488-4100
Fax:   213\488-4180


From: Holland, James [mailto:james.holland@stinson.com]
Sent: Wednesday, July 26, 2017 6:35 PM
To: Thomas Davis <tdavis@deconsel.com>
Cc: Daniel Shanley <dshanley@deconsel.com>
Subject: RE: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants

Thomas:

Thanks for your email. I believe your proposed stipulation has more information than necessary. How about the
following:

The parties, through their counsel, hereby stipulate that HARRY KENT BAKER, an individual, SCOTI WILLIAM MILLER, an
individual, and JAMES DOUGLAS WILSON, an individual, and PLAINTIFFS' SECOND CLAIM FOR RELIEF DEFALCATION OF
FIDUCIARY, are dismissed with prejudice; and PLAINTIFFS' SECOND CLAIM FOR RELIEF - DEFALCATION OF FIDUCIARY, is
dismissed with prejudice.

I think this is all that needs to be said, and it's what I'm comfortable saying.



James E. Holland, Jr.I Partner I Stinson Leonard Street LLP
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james.holland@stinson.com I www.stinson.com
Legal Administrative Assistant: Celia Munguia I 602.212.8573        I celia.munguia@stinson.com

From: Thomas Davis [mailto:tdavis@deconsel.com]
Sent: Tuesday, July 25, 2017 3:41 PM
To: Holland, James
                                                                2
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Cc: Daniel Shanley
Subject: RE: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants

I made a change in order to clarify the stipulation (please see the second paragraph). Please advise if this is acceptable.

Thanks,

Thomas Davis
Decarlo & Shanley
533 South Fremont Avenue, 9th Floor
Los Angeles, California 90071-1706

Phone:213\488-4100
Fax:  213\488-4180


From: Holland, James [mailto:james.holland@stinson.com]
Sent: Monday, July 24, 2017 8:56 AM
To: Thomas Davis <tdavis@deconsel.com>
Cc: Daniel Shanley <dshanley@deconsel.com>
Subject: SOUTHWEST INDUSTRIAL RIGGING - stipulation to dismiss Individual Defendants

Thank you for sending the draft stipulation and proposed order to dismiss the Individual Defendants. If you will delete
the reference to fees and costs from both documents, you can sign for me.



James E. Holland, Jr. I Partner I Stinson Leonard Street LLP
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has been sent to you in error, please contact the sender for instructions concerning return or destruction, and do not use or disclose
the contents to others.
From: Thomas Davis [mailto:tdavis@deconsel.com]
Sent: Tuesday, July 18, 2017 3:13 PM
To: Holland, James
Cc: Daniel Shanley
Subject: SOUTHWEST INDUSTRIAL RIGGING

Good Afternoon Mr. Holland:

I am attaching our dismissal of the Individual Defendants and the Second Claim for Relief. If you would please sign and
return, I will have this filed with the court.

Thanks,

Thomas Davis
Decarlo & Shanley
533 South Fremont Avenue, 9th Floor
Los Angeles, California 90071-1706


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